                   Case 1:13-cr-00045-AT-JSA Document 193 Filed 08/30/13 Page 1 of 2

                                                                               FILED IN CHAMBeRS
                                                                                  U.S.D.C. Atlinta

                                                                                  AUG 3 0 Z013
                                IN THE UNITED STATES DISTRICT CO~ N. rlATTe~N'
                                                                             Clerk
                               FOR THE NORTHERN DISTRICT OF GEO~A       CI     11111
                                         ATLANTA DIVISION                  \ .

              UNITED STATES OF AMERICA
                                                           CRIMINAL ACTION
              v.                                           NO.1 :13-CR-045-JEC-4
              THOMAS SANCHEZ JUAREZ,
                      Defendant

                   REPORT AND RECOMMENDATION CONCERNING PLEA OF GUILTY1
                      The Defendant, Thomas Sanchez Juarez (Defendant"), by consent, has appeared
              before the undersigned United States Magistrate Judge and has entered a plea of guilty
              to Count One of the Indictment. After cautioning and examining the Defendantunder
              oath concerning each of the subjects mentioned in Rule 11, I have determined that the
              guilty plea was knowing and voluntary, and that the plea to the offense charged is
              supported by an independent basis in fact establishing each of the essential elements
             • of the offense. I have also determined that, to the maximum extent permitted by
              federallaw, the Defendant has voluntarily and expressly waived his right to appeal the
              conviction and sentence and the right to collaterally attack his sentence in any
              post-conviction proceedings, including by motion filed pursuant to 28 U.s.c. § 2255,
              on any ground, except that the Defendant may file a direct appeal of an upward
              departure or a variance from the sentencing guideline range as calculated by the
              district court, and if the Government appeals the sentence imposed, the Defendant may


                     I Failure to file written objections to this Report and Recommendation within
              FOURTEEN (14) DAYS after service of a copy of this Report and Recommendation
              shall bar an aggrieved party from attacking such Report and Recommendation before
              the assigned united States District Judge. 28 U.S.c. § 636(b)(1)(B).



A072A
(Rev 8/82)
                Case 1:13-cr-00045-AT-JSA Document 193 Filed 08/30/13 Page 2 of 2




             also file a cross-appeal of that same sentence. It is, therefore, RECOMMENDED that
             the plea of guilty be accepted and that the Defendant be adjudged guilty and have
             sentence imposed accordingly.
                   IT IS SO RECOMMENDED this 30th day of August, 2013.




                                                     2



AOT2A
(Rev.8182)
